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                Exhibit 26
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Date: Tuesday, November 9, 2021 7:39:17 PM                                                                 Print           Close

  DOI00017218                                                                                    View: SF: Disclosure Type
 ID: DOI00017218
 Name: Jeffrey Goldhagen 2021 - Gallagher & Associates Law Firm, P.A
 Disclosure Type: Legal Consulting
 Status: Review Complete
 Department: 30090000 JX-PEDIATRICS-JACKSONVILLE
 Disclosure Submitted Date/Time: Aug 11, 2021 08:30am
 Level 2 Review: Approved on Nov 05, 2021 12:53pm



Disclosure for Jeffrey Goldhagen: Disclosure
Type
* Please select the type of outside activity or interest you have to disclose. If
you have multiple disclosures to enter, you will disclose one at a time (e.g.,
consulting for one outside entity and a leadership role with a different outside
enity). If none of these activities or interests apply to you, select that option at
the bottom of the list.
Legal Consulting




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  DOI00017218                                                                  View: SF: Disclosure Entity Information


Disclosure for Jeffrey Goldhagen: Entity
Information

    1. External entity:

        or
        If entity not listed, enter a single/specific entity name here:
        Gallagher & Associates Law Firm, P.A


        * Is the entity publicly traded?
           Yes
           No


        * Country:
        United States


        Entity-related documents:
           Name                                         Description
           There are no items to display


    2. Entity EIN tax number (optional):

    3. Entity website URL (optional):




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  DOI00017218                                                                   View: SF: Disclosure Legal Consulting



Disclosure for Jeffrey Goldhagen: Legal
Consulting
    1. * Does this legal consulting/expert witness engagement relate to
        medical malpractice or any healthcare-related matter?
           Yes
           No


        * Does this legal consulting/expert witness engagement relate to a
        civil, criminal or administrative proceeding? Indicate any that apply.
           Civil


    2. * Will you be hired by the Government, Plaintiff, or Defendant?
        Indicate any that apply.
           Plaintiff




        I affirm that the attorney with whom I will be working understands
        that my engagement in this activity is in my capacity as a private
        citizen and not as an employee of the University of Florida.
         


    3. Enter Plaintiff(s) name:



    4. Enter Plaintiff law firm/attorney name:

    5. Enter Defendant(s) name:

    6. Enter Defendant law firm/attorney name:

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    7. City/State where the alleged issue occurred or relates to:




    8. * Is the estimated annual compensation $5,000 or more?
           Yes
           No



    9. * Will UF equipment, facilities, services, resources be used (on a
        more than incidental basis), or will staff and/or students be involved
        in this activity or financial interest?
           Yes
           No



 10. * Are you participating in UF research that would affect the disclosed
        entity (e.g. the entity: sponsors the research, makes a drug or device
        being evaluated in the study, options or licenses related technology
        or is otherwise related to the study)?
           Yes
           No


 11. * Please explain whether you think this activity/case could in any way
        place you in a position that is adverse to the interests of the
        University of Florida.
        This activity is consistent with the mission of the University of Florida and University of
        Florida College of Medicine:

        The College of Medicine strives to improve health care in Florida, our nation, and the
        world through excellence and consistently superior leadership in education, clinical care,
        discovery, and service.


        The University of Florida's mission includes:
        Service reflects the university's obligation to share the benefits of its research and
        knowledge for the public good.




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 12. * Please upload an agreement with the entity to authenticate your
        responses to the questions in this section. If you do not have a
        formal agreement, please upload any email, correspondence, or
        document that serves the same purpose.
           Name                                                                                                        Description

                     080921 (efiled) Plfs' NOH on Emergency MT for Injunctive
                    Relief (8-13-21)(McCarthy-DeSantis).pdf(0.01)


 13. Additional relevant information, if any, that would help clarify this
        disclosure:

 14. Attach any additional supporting documentation, if applicable
        (descriptive emails, letters, etc.):
           Name                                         Description
           There are no items to display




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  DOI00017218                                                                                View: SF: Time Commitment


Disclosure for Jeffrey Goldhagen: Legal
Consulting
Time Commitment

    1. * Approximately how long do you expect this activity or relationship
        to last in total?
        2 weeks or less


    2. * Estimated start date:
        8/13/2021


    3. Estimated end date:
        8/13/2021




    4. * Approximately how many hours in total do you expect to spend on
        this activity? (Numerical values only, please)
        5


    5. Explain any additional information to clarify the dates or time
        commitment involved:




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  DOI00017218                                                                                          View: SF: Certification


Disclosure for Jeffrey Goldhagen: Certification
My initials on this completed electronic disclosure affirm and certify an understanding of and
compliance with UF's policies on conflicts of interest, outside activities, and financial interests
as well as the completeness and accuracy of my responses in this disclosure.

I will keep my disclosures up-to-date and accurate, and I confirm I understand and
agree with the above statements. Enter initials here: * jg




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